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                    EXHIBIT 2
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                                                                                                                          Business         Product   Product   Product Product
Product Name                     Strength        Package Comments                                             UD Config    Group     SBU     Line    Family     Group Category         New Cat Code 4               New Cat Code 5
Oxycodone IR Tabs (AD)           5 mg                  100                  0601-01                                         PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           5 mg               100UD                   0601-62                           0601-23       PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           10 mg                 100                  0602-01                                         PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           10 mg              100UD                   0602-62                           0602-23       PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           15 mg                 100                  0603-01                                         PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           15 mg              100UD                   0603-62                           0603-23       PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           20 mg                 100                  0604-01                                         PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           20 mg              100UD                   0604-62                           0604-23       PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           30 mg                 100                  0605-01                                         PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone IR Tabs (AD)           30 mg              100UD                   0605-62                           0605-23       PCH      DOS    DGN       OXD*       DOT             OXD   Oxycodone IR Tab (AD)
Oxycodone ER Tabs (AD)           10 mg                 100OxyContin         0710-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           15 mg                 100OxyContin         0715-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           20 mg                 100OxyContin         0720-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           30 mg                 100OxyContin         0730-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           40 mg                 100OxyContin         0740-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           60 mg                 100OxyContin         0760-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           80 mg                 100OxyContin         0780-01                                         PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           10 mg              100UDOxyContin          0710-62                           0710-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           15 mg              100UDOxyContin          0715-62                           0715-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           20 mg              100UDOxyContin          0720-62                           0720-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           30 mg              100UDOxyContin          0730-62                           0730-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           40 mg              100UDOxyContin          0740-62                           0740-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           60 mg              100UDOxyContin          0760-62                           0760-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Oxycodone ER Tabs (AD)           80 mg              100UDOxyContin          0780-62                           0780-23       PCH      DOS    DGN       OXR*       DOT             OXR   Oxycodone ER Tab (AD)
Mixed Amphetamines ER Capsules   5 mg                  100Adderall XR       0805-01                                         PCH      DOS    DGN       MAM       DMC
Mixed Amphetamines ER Capsules   10 mg                 100Adderall XR       0806-01                                         PCH      DOS    DGN       MAM       DMC
Mixed Amphetamines ER Capsules   15 mg                 100Adderall XR       0807-01                                         PCH      DOS    DGN       MAM       DMC
Mixed Amphetamines ER Capsules   20 mg                 100Adderall XR       0808-01                                         PCH      DOS    DGN       MAM       DMC
Mixed Amphetamines ER Capsules   25 mg                 100Adderall XR       0809-01                                         PCH      DOS    DGN       MAM       DMC
Mixed Amphetamines ER Capsules   30 mg                 100Adderall XR       0810-01                                         PCH      DOS    DGN       MAM       DMC
Nortriptyline HCl capsules       10 mg                  30Pamelor           8810-03   These are reserved                    PCH      DOS    DGN       NOR*      DNC*                NOR Nortriptyline            DNC Nortriptyline Caps
Nortriptyline HCl capsules       25 mg                  30Pamelor           8811-03   These are reserved                    PCH      DOS    DGN       NOR*      DNC*                NOR Nortriptyline            DNC Nortriptyline Caps
Nortriptyline HCl capsules       50 mg                  30Pamelor           8812-03   These are reserved                    PCH      DOS    DGN       NOR*      DNC*                NOR Nortriptyline            DNC Nortriptyline Caps
Nortriptyline HCl capsules       75 mg                  30Pamelor           8813-03   These are reserved                    PCH      DOS    DGN       NOR*      DNC*                NOR Nortriptyline            DNC Nortriptyline Caps
Sodium oxybate oral solution     500mg/mL        180 mL Xyrem               8500-18                                         PCH      DOS    DGN       SOD*      DSO*               SOD Sodium Oxybate           DSO Sodium Oxybate OS
 matinib mesylate tablets        100 mg                 90Gleevec           3100-90                                         PCH      DOS    DGN       IMM*      IMT*              IMM Imatinib Mesylate        IMT Imatinib Mesylate Tabs
 matinib mesylate tablets        400 mg                 30Gleevec           3400-03                                         PCH      DOS    DGN       IMM*      IMT*              IMM Imatinib Mesylate        IMT Imatinib Mesylate Tabs
 matinib mesylate tablets        400 mg          30UD      Gleevec          3400-32                                         PCH      DOS    DGN       IMM*      IMT*              IMM Imatinib Mesylate        IMT Imatinib Mesylate Tabs
Hydrocodone/APAP Tablets         5/300                 100                  0376-01   These are already setup.              PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         5/300                 500                  0376-05   These are already setup.              PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         5/300              100UD                   0376-62   These are already setup. 0376-23      PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         7.5/300               100                  0377-01   These are already setup.              PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         7.5/300               500                  0377-05   These are already setup.              PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         7.5/300            100UD                   0377-62   These are already setup. 0377-23      PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         10/300                100                  0378-01   These are already setup.              PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         10/300                500                  0378-05   These are already setup.              PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         10/300             100UD                   0378-62   These are already setup. 0378-62      PCH      DOS    DGN        HY1       DGB
Oxycodone/APAP Oral Solution     5/325 per 5mL   500 mL re-launch item; n8605-50      Need new - for relaunch               PCH      DOS    DGN        OXA      OX4*                                              OX4 Oxycodone OS
Oxycodone HCL Oral Solution      5mg/5mL         500 mL re-launch item; n8705-50      Need new - for relaunch               PCH      DOS    DGN        OXI      OX4*                                              OX4 Oxycodone OS
Oxycodone HCL Oral Solution      20mg/mL         30 mL     re-launch item; n8720-30   Need new - for relaunch               PCH      DOS    DGN        OXI      OX4*                                              OX4 Oxycodone OS
Hydrocodone/APAP Tablets         5/325           100 UD                     0123-23                            0123-23      PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         7.5/325         100 UD                     0124-23                            0124-23      PCH      DOS    DGN        HY1       DGB
Hydrocodone/APAP Tablets         10/325          100 UD                     0125-23                            0125-23      PCH      DOS    DGN        HY1       DGB
Oxycodone HCl Tablets            15mg            100 UD                     8515-23                            8515-23      PCH      DOS    DGN        OXI       DOT
Oxycodone HCl Tablets            30mg            100 UD                     8530-23                            8530-23      PCH      DOS    DGN        OXI       DOT
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    S/T       ITEM #       NDC #                ITEM DESC 1                      ITEM DESC 2
M         0406053291   00406053291   OXYCODONE/APAP 5/500MG           5000 CT TOTE
O         0406251201   00406251201   OXYCODONE & APAP TABS USP        BOTTLE OF 100-SALES HISTORY
S         0406851562   00406851562   OXYCODONE HCI 15MG TABS          UD 10 2X5 BLISTER CARD 100
S         0406853062   00406853062   OXYCODONE HCI 30MG TABS          UD 10 2X5 BLISTER CARD 100
S         055201       00406055201   OXYCODONE HCL 5MG TABS USP       BOTTLE OF 100
O         055232       00406055232   OXYCODONE HCL 5MG TABS USP       5X30 CT REVERSE BINGO
S         055262       00406055262   OXYCODONE HCL 5MG TABS USP       10X2X5 UNIT DOSE BLISTER
O         055401       00406055401   OXYCODONE HCL 5MG CAPS           BOTTLE OF 100
S         059301       00406059301   OXYCODONE HCL ER TABS, 10MG      BOTTLE OF 100
S         059401       00406059401   OXYCODONE HCL ER TABS, 20MG      BOTTLE OF 100
S         059501       00406059501   OXYCODONE HCL ER TABS, 40MG      BOTTLE OF 100
S         059601       00406059601   OXYCODONE HCL ER TABS, 80MG      BOTTLE OF 100
O         251205       00406251205   OXYCODONE & APAP TABS USP        BOTTLE OF 500-SALES HISTORY
S         851501       00406851501   OXYCODONE HCL 15MG TABS USP      BOTTLE OF 100
O         851562       851562        OXYCODONE HCL 15MG TABS USP      10X2X5 UNIT DOSE BLISTER
S         853001       00406853001   OXYCODONE HCL 30MG TABS USP      BOTTLE OF 100
O         853062       853062        OXYCODONE HCL 30MG TABS USP      10X2X5 UNIT DOSE BLISTER
O         855550       00406855550   OXYCODONE HCL ORAL SOLN 5/5ML    500 ML BOTTLE
O         855830       00406855830   OXYCODONE HCL ORAL CONC 20/ML    30 ML BOTTLE
S         886553       00406886553   OXYCODONE HCL PWDR USP           5 GRAM BOTTLE
S         886557       00406886557   OXYCODONE HCL PWDR USP           100 GRAM BOTTLE
U         887353       00406887353   OXYCODONE HYDROCHLORIDE USP(D)   5 GRAM BOTTLE
U         887357       00406887357   OXYCODONE HYDROCHLORIDE USP(D)   100 GRAM BOTTLE
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 G/L                G/L DESC            CC1       CC1 DESC       CC2   CC2 DESC CC3
OXYA    Oxycodone APAP                PCH     Pharmaceuticals   DOS    Dosage DGN
OXYA    Oxycodone APAP                PCH     Pharmaceuticals   DOS    Dosage DGN
NEW     New G/L - needs valid class   PCH     Pharmaceuticals   DOS    Dosage DGN
NEW     New G/L - needs valid class   PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYE    OXYCODONE ER                  PCH     Pharmaceuticals   DOS    Dosage DGN
OXYE    OXYCODONE ER                  PCH     Pharmaceuticals   DOS    Dosage DGN
OXYE    OXYCODONE ER                  PCH     Pharmaceuticals   DOS    Dosage DGN
OXYE    OXYCODONE ER                  PCH     Pharmaceuticals   DOS    Dosage DGN
OXYA    Oxycodone APAP                PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OXYP    Oxycodone Products            PCH     Pharmaceuticals   DOS    Dosage DGN
OTHP    Other Generics                PCH     Pharmaceuticals   DOS    Dosage DGN
OTHP    Other Generics                PCH     Pharmaceuticals   DOS    Dosage DGN
OTHP    Other Generics                PCH     Pharmaceuticals   DOS    Dosage DGN
OTHP    Other Generics                PCH     Pharmaceuticals   DOS    Dosage DGN
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           CC3 DESC    CC4              CC4 DESC       CC5               CC5 DESC
Generics              OXA    Oxycodone APAP          OX2     Oxycodone APAP Caps
Generics              OXA    Oxycodone APAP          OX3     Oxycodone APAP Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOX     Oxycodone Caps
Generics              OXE    Oxycodone ER            DOT     Oxycodone Tabs
Generics              OXE    Oxycodone ER            DOT     Oxycodone Tabs
Generics              OXE    Oxycodone ER            DOT     Oxycodone Tabs
Generics              OXE    Oxycodone ER            DOT     Oxycodone Tabs
Generics              OXA    Oxycodone APAP          OX3     Oxycodone APAP Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOT     Oxycodone Tabs
Generics              OXI    Oxycodone IR            DOL     Oxycodone Liq
Generics              OXI    Oxycodone IR            DOL     Oxycodone Liq
Generics              DGO    Other Generics          CPG     Compound Pwdr - G
Generics              DGO    Other Generics          CPG     Compound Pwdr - G
Generics              DGO    Other Generics          CPG     Compound Pwdr - G
Generics              DGO    Other Generics          CPG     Compound Pwdr - G
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     ITEM #                  ITEM DESC 1                     ITEM DESC 2
009028         COMPAP® ACETAMINOPHEN USP 90%    RSVD 11/14/08 L MASCIA
011727         COMPAP® CPM                      RSVD 11/6/08 L. Masc a
016127         COMPAP® L 100KG                  RSVD 11/6/08 L. Masc a
029699         BISMUTH SUBCARB PUR HEAVY PWDR   RSVD 10/16/09 M SCHROEDER
037601         HB-APAP 5/300, 100s              RSVD-K VORDERSTRASSE- 09/07/12
037603         HB-APAP 5/300, 30s               RSVD-K VORDERSTRASSE- 09/07/12
037605         HB-APAP 5/300, 500s              RSVD-K VORDERSTRASSE- 09/07/12
037612         HB-APAP 5/300, 120s              RSVD-K VORDERSTRASSE- 09/07/12
037660         HB-APAP 5/300, 60s               RSVD-K VORDERSTRASSE- 09/07/12
037662         HB-APAP 5/300, 100s UD           RSVD-K VORDERSTRASSE- 09/07/12
037690         HB-APAP 5/300, 90s               RSVD-K VORDERSTRASSE- 09/07/12
037701         HB-APAP 7.5/300, 100S            RSVD-K VORDERSTRASSE- 09/07/12
037703         HB-APAP 7.5/300, 30S             RSVD-K VORDERSTRASSE- 09/07/12
037705         HB-APAP 7.5/300, 500S            RSVD-K VORDERSTRASSE- 09/07/12
037712         HB-APAP 7.5/300, 120S            RSVD-K VORDERSTRASSE- 09/07/12
037760         HB-APAP 7.5/300, 60S             RSVD-K VORDERSTRASSE- 09/07/12
037762         HB-APAP 7.5/300, 100S UD         RSVD-K VORDERSTRASSE- 09/07/12
037790         HB-APAP 7.5/300, 90S             RSVD-K VORDERSTRASSE- 09/07/12
037801         HB-APAP 10/300, 100S             RSVD-K VORDERSTRASSE- 09/07/12
037803         HB-APAP 10/300, 30S              RSVD-K VORDERSTRASSE- 09/07/12
037805         HB-APAP 10/300, 500S             RSVD-K VORDERSTRASSE- 09/07/12
037812         HB-APAP 10/300, 120S             RSVD-K VORDERSTRASSE- 09/07/12
037860         HB-APAP 10/300, 60S              RSVD-K VORDERSTRASSE- 09/07/12
037862         HB-APAP 10/300, 100S UD          `
037890         HB-APAP 10/300, 90S              RSVD-K VORDERSTRASSE- 09/07/12
0406054552     LEVORPHANOL TARTRATE, 1 GM BTL   RSVD 10/26/07 K MUHLENKAMP
0406074101     OXYCODONE HCL ER 10MG TABS       RSVD L. CARDETTI 6/29/12
0406074201     OXYCODONE HCL ER 15MG TABS       RSVD L. CARDETTI 6/29/12
0406074301     OXYCODONE HCL ER 20MG TABS       RSVD L. CARDETTI 6/29/12
0406074401     OXYCODONE HCL ER 30MG TABS       RSVD L. CARDETTI 6/29/12
0406074501     OXYCODONE HCL ER 40MG TABS       RSVD L. CARDETTI 6/29/12
0406074601     OXYCODONE HCL ER 60MG TABS       RSVD L. CARDETTI 6/29/12
0406074701     OXYCODONE HCL ER 80MG TABS       RSVD L. CARDETTI 6/29/12
0406076101     OXYCODONE HCL ER 10MG TABS       RSVD L. CARDETTI 6/22/12
0406076201     OXYCODONE HCL ER 15MG TABS       RSVD L. CARDETTI 6/22/12
0406076301     OXYCODONE HCL ER 20MG TABS       RSVD L. CARDETTI 6/22/12
0406076401     OXYCODONE HCL ER 30MG TABS       RSVD L. CARDETTI 6/22/12
0406076501     OXYCODONE HCL ER 40MG TABS       RSVD L. CARDETTI 6/22/12
0406076601     OXYCODONE HCL ER 60MG TABS       RSVD L. CARDETTI 6/22/12
0406076701     OXYCODONE HCL ER 80MG TABS       RSVD L. CARDETTI 6/22/12
0406084401     OXYCODONE HCL IR 5MG TABS        RSVD L. CARDETTI 6/21/12
0406084462     OXYCODONE HCL IR 5MG TABS        RSVD L. CARDETTI 6/21/12
0406084501     OXYCODONE HCL IR 7 5MG TABS      RSVD L. CARDETTI 6/21/12
0406084562     OXYCODONE R 5MG TABS             RSVD G. COLL ER 6/6/12
0406084601     OXYCODONE HCL IR 10MG TABS       RSVD L. CARDETTI 6/21/12
0406084701     OXYCODONE HCL IR 15MG TABS       RSVD L. CARDETTI 6/21/12
0406084801     OXYCODONE HCL IR 20MG TABS       RSVD L. CARDETTI 6/21/12
0406084901     OXYCODONE HCL IR 30MG TABS       RSVD L. CARDETTI 6/21/12
0406087062     OXYCODONE HCL IR 5MG TABS        RSVD L CARDETTI 7/18/12
0406087101     OXYCODONE HCL IR 5MG TABS        RSVD L CARDETTI 7/18/12
0406087201     OXYCODONE HCL IR 7 5MG TABS      RSVD L CARDETTI 7/18/12
0406087301     OXYCODONE HCL IR 10MG TABS       RSVD L CARDETTI 7/18/12
0406087501     OXYCODONE HCL IR 15MG TABS       RSVD L CARDETTI 7/18/12
0406087601     OXYCODONE HCL IR 20MG TABS       RSVD L CARDETTI 7/18/12
0406087701     OXYCODONE HCL IR 30MG TABS       RSVD L CARDETTI 7/18/12
0406200110     PAROXETINE HCL 40MG TABLETS,     RSVD R LORENTZ 10/07/7 BT 1000
0406204601     RIBAV RIN 200MG TABLETS          RSVD 4/9/08 K.MUHLENKAMPBT1000
0406204618     RIBAV RIN 200MG TABLETS          RSVD 4/9/08 K.MUHLENKAMP BT180
0406204662     RIBAV RIN 200MG TABLETS          RSVD 4/9/08 K.MUHLENKAMP BT100
0406204728     RIBAV RIN 500MG TABLETS          RSVD 4/9/08 K.MUHLENKAMP BT 28
0406204756     RIBAV RIN 500MG TABLETS          RSVD 4/9/08 K.MUHLENKAMP BT 56
0406204760     RIBAV RIN 500MG TABLETS          RSVD 4/9/08 K.MUHLENKAMP BT 60
0406209710     PAROXETINE HCL 10MG TABLETS,     RSVD R LORENTZ 10/07/7 BT 1000
0406209810     PAROXETINE HCL 20MG TABLETS,     RSVD R LORENTZ 10/07/7 BT 1000
0406209910     PAROXETINE HCL 30MG TABLETS,     RSVD R LORENTZ 10/07/7 BT 1000
0406212101     Amlod p ne Besylate 2.5mg Tabs   RSVD 6/13/07 R.LORENTZ BT100
0406212105     Amlod p ne Besylate 2.5mg Tabs   RSVD 6/13/07 R.LORENTZ BT500
0406212190     Amlod p ne Besylate 2.5mg Tabs   RSVD 6/13/07 R.LORENTZ BT 90
0406212201     Amlod p ne Besylate 5mg Tabs     RSVD 6/13/07 R.LORENTZ BT100
0406212205     Amlod p ne Besylate 5mg Tabs     RSVD 6/13/07 R.LORENTZ BT500
0406212290     Amlod p ne Besylate 5mg Tabs     RSVD 6/13/07 R.LORENTZ BT 90
0406212301     Amlod p ne Besylate 10mg Tabs    RSVD 6/13/07 R.LORENTZ BT100
0406212305     Amlod p ne Besylate 10mg Tabs    RSVD 6/13/07 R.LORENTZ BT500
0406212390     Amlod p ne Besylate 10mg Tabs    RSVD 6/13/07 R.LORENTZ BT 90
0406212828     RIBAV RIN 500MG TABLETS          RSVD 4/2/08 B LORENTZ BT OF 28
0406212856     RIBAV RIN 500MG TABLETS          RSVD 4/2/08 B LORENTZ BT OF 56
0406212860     RIBAV RIN 500MG TABLETS          RSVD 4/2/08 B LORENTZ BT OF 60
0406212928     RIBAV RIN 600MG TABLETS          RSVD 5/10/07 B LORENTZ BT28
0406212956     RIBAV RIN 600MG TABLETS          RSVD 5/10/07 B LORENTZ BT 56
0406212960     RIBAV RIN 600MG TABLETS          RSVD 5/10/07 B LORENTZ BT 60
0406213301     D valp oex Sod um ER Tab 250mg   RSVD 7/20/07 L RANDALL BT 100
0406213305     D valp oex Sod um ER Tab 250mg   RSVD 7/20/07 L RANDALL BT 500
0406213360     D valp oex Sod um ER Tab 250mg   RSVD 7/20/07 L RANDALL BT 60
0406213390     D valp oex Sod um ER Tab 250mg   RSVD 7/20/07 L RANDALL BT 90
0406213401     D valp oex Sod um ER Tab 500mg   RSVD 7/20/07 L RANDALL BT 100
0406213405     D valp oex Sod um ER Tab 500mg   RSVD 7/20/07 L RANDALL BT 500
0406213490     D valp oex Sod um ER Tab 500mg   RSVD 7/20/07 L RANDALL BT 90
0406218762     DIPYRIDAMOLE 25mg, TAB UNT DOS   RSVD B.LORENTZ 2/4/8 10X10UNTD
0406218862     DIPYRIDAMOLE 50mg, TAB UNT DOS   RSVD B.LORENTZ2/4/08 10X10 UNT
0406218962     DIPYRIDAMOLE 75mg, TAB UNT DOS   RSVD B.LORENTA 02/4/0810X10UNT
0406226010     RIBAV RIN 200MG TABLETS          RSVD 4/2/08 B LORENTZ BT 1000
0406226018     RIBAV RIN 200MG TABLETS,         RSVD 4/2/08 B LORENTZ BT 180
0406226062     RIBAV RIN 200MG TABLETS          RSVD - B LORENTZ - 04/02/08
0406254001UA   METHADONE ORNGTB 40MG UKRAINE    RSVD 8/28/07 A BROWN BT OF 100
0406310201     METHYLPHENIDATE TAB CHEW 2.5MG   RSVD K VORDERSTRASSE 3/23/12
0406310501     METHYLPHENIDATE TAB CHEW 5MG     RSVD K VORDERSTRASSE 3/23/12
0406311001     METHYLPHENIDATE TAB CHEW 10MG    RSVD K VORDERSTRASSE 3/23/12
0406345434UA   METHADOSE®10MG TBS,UKRAINE       RSVD 8/28/07 A BROWN BT OF 100
0406631562     MORPHINE SULFATE R 15MG TAB      RSVD R COYNER 2/7/07 10-2X5UDB
0406633062     MORPHINE SULFATE R 30MG TAB      RSVD R COYNER 2/7/07 10-2X5UDB
0406697434UA   METHADOSE® 5MG TBS, UKRAINE      RSVD 8/28/07 A BROWN BT OF 100
0406755001     MORPHINE SUL 12HR ER 10MG CAP    RSVD 07/16/10 - L LUNDERGAN
0406755005     MORPHINE SUL 12HR ER 10MG CAP    RSVD 07/16/10 - L LUNDERGAN
0406755601     MORPHINE SUL 12HR ER 100MG CAP   RSVD 2/27/07 KVORDER BT OF 100
0406755605     MORPHINE SUL12 HR ER 100MG CAP   RSVD 2/27/07 KVORDER BT OF 500
0406755662     MORPHINE SUL 12 HR ER 80MG CAP   RSVD 2/27/07 KVORDERSTR 10X2X5
0406755701     MORPHINE SUL 12HR ER 200MG CAP   RSVD 03/12/07-K VORDERSTRASSE
0406755705     MORPHINE SUL 12HR ER 200MG CAP   RSVD 03/12/07-K VORDERSTRASSE
0406809105     OXYMORPHONE HCL ER 5MG TAB       RSVD 5/10/07 K VORDERSTA BT500
0406809205     OXYMORPHONE HCL ER 10MG TAB      RSVD 5/10/07 K VORDERSTA BT500
0406809262     OXYMORPHONE HCL ER 10MG TAB      RSVD 5/10/07 K VORDERSTA10X2X5
0406809305     OXYMORPHONE HCL ER 20MG TAB      RSVD 5/10/07 K VORDERSTA BT500
0406809362     OXYMORPHONE HCL ER 20MG TAB      RSVD 5/10/07 K VORDERSTA10X2X5
0406809405     OXYMORPHONE HCL ER 40MG TAB      RSVD 5/10/07 K VORDERSTA BT500
0406809462     OXYMORPHONE HCL ER 40MG TAB      RSVD 5/10/07 K VORDERSTA10X2X5
0406881003     NORTR PTYLINE HCL 10MG           RSVD - S ELMORE - 03/03/15
0406881103     NORTR PTYLINE HCL 25MG           RSVD - S ELMORE - 03/03/15
0406881203     NORTR PTYLINE HCL 50MG           RSVD - S ELMORE - 03/03/15
0406881303     NORTR PTYLINE HCL 75MG           RSVD - S ELMORE - 03/03/15
0406993111     TOFRANIL-PM 75MG CAPSULES        RSVD 11/17/08 C FARDAL
057055         METHYLPHENIDATE HCL USP (NP)     RSVD - M SCHROEDER - 07/14/11
057079         METHYLPHENIDATE HCL USP          RSVD - J ROBERTS - 11/03/11
067257         SUFENTANIL CITRATE USP           RSVD 10/07/09 - M SCHROEDER
067805         SUFENTANIL CITRATE USP/EP        RSVD 12/10/08 M SCHROEDER
077706         OXYMORPHONE HCL USP (LA)         RSVD M SCHROEDER 06/10/08
081704         2 2-BIS OXYMORPHONE ARS          RSVD M SCHROEDER 06/10/08
088006         OXYMORPHONE HCL USP (NP)         RSVD - J ROBERTS - 08/16/12
103604         D-THREOMETHYLPHENIDATE HCL ARS   RSVD - DAVID SHAW - 12/17/12
103704         I-THREOMETHYLPHENIDATE HCL ARS   RSVD - DAVID SHAW - 12/17/12
103906         DEXMETHYLPHEN DATE HCL           RSVD - DAVID SHAW - 01/09/13
108026         PROPOXYPHENE USP MED             RSVD M.SCHRAEDER 09/17/08
123604         6-BETA NOROXYMORPHOL BASE ARS    RSVD - J ROBERTS - 11/12/12
131204         6-BETA OXYMORPHOL BASE ARS       RSVD J.ROBERTS 11/17/11
1317AR07       MD-76R 12X100ML BTL              RSVD - P POLLARD - 02/27/15
1317AR15       MD-76R 25X50ML VI                RSVD - P POLLARD - 02/27/15
1317CA07       MD-76R 12X100ML MTL              RSVD - P POLLARD - 10/19/12
1317LA07       MD-76R 12X100ML BTL (LATAM)      RSVD LAUR E MARKS 03/28/03
133579         METHYLPHENIDATE HCL USP FINE     RSVD - J ROBERTS - 11/03/11
155953         HYDROCODONE BITARTRATE USP       RSVD - M SCHROEDER - 11/9/10
155957         HYDROCODONE BITARTRATE USP       RSVD - M SCHROEDER - 11/9/10
167804         D-THREO-RITALIN C ACID HCI ARS   RSVD - J ROBERTS - 11/12/12
168104         ALPHA METHADOL HCL ARS           RSVD - J ROBERTS - 11/20/12
170404         N(3BUTENYL)NORBUPRNORPHINE ARS   RSVD - J ROBERTS - 8/5/14
218904         EPHEDRINE HCI ARS                RSVD - J ROBERTS - 04/13/12
224824         MAG CAL STEAR NF MPAL PWDR       RSVD M SCHROEDER 04/20/09
322252         HYDROMORPHONE HCL US/EP          RSVD 01/14/10 - M SCHROEDER
322257         HYDROMORPHONE HCL US/EP          RSVD 01/14/10 - M SCHROEDER
355806         SINOMENINE HYDROCHLORIDE         RSVD - J ROBERTS - 02/03/12
387304         10-ALPHAHYDROXYHYDROCODONE ARS   RSVD - J ROBERTS - 11/15/13
489804         APOMORPHINE 3SULFONIC ACID ARS   RSVD 7/15/09 M SCHROEDER
508906         NORBUPRENORPHINE HYDROCHLORIDE   RSVD - J ROBERTS - 08/02/12
566304         N-BENZYLEPHEDRINE ARS            RSVD 7/15/09 - M SCHROEDER
571297         MAG STEAR NF K/P HYQUAL@         RSVD 06/01/09 - M SCHROEDER
588604         10-BETA HYDROXYHYDROCODONE ARS   RSVD - J ROBERTS - 11/15/13
685626         MEGLUMINE GADOTERATE             RSVD J. ROBERTS 6/21/12
695126         GADOVERSETMIDE G                 RSVD - J ROBERTS - 10/08/12
700500         CALCIUM ACETATE SOLUT ON         RSVD M SCHROEDER 03/04/09
700726         GADOTERIC AC D                   RSVD J. ROBERTS 6/21/12
701124         CALCIUM ACETATE SOLUT ON         RSVD M SCHROEDER 03/04/09
709726         POTASS UM PHOSPHATE MONO M LLD   RSVD - J ROBERTS - 07/07/11
725906         MS-325 STEP II DPAA OIL          RSVD - J ROBERTS - 02/16/12
750927         COMPAP® L (APAP USP 90% ANHYD)   RSVD 11/6/08 L. Masc a
750934         COMPAP® L (APAP UPS 90% ANHYD)   RSVD 11/19/08 L MASCIA
755404         10-ALPHA HYDROXYNALTREXONE ARS   RSVD - J ROBERTS - 10/10/14
788104         10-ALPHA OH HYDROMORPHONE ARS    RSVD - J ROBERTS - 08/20/14
888306         OXYCODONE HCL (LA) HYDRATED      RSVD M SCHROEDER - 9/01/09
896304         4 4'-DIAMINODIPHENYL ETHER ARS   RSVD 08/24/09 - M SCHROEDER
899903         WOOD PALLET                      RSVD D VON ROHR 10/03/08
911430         COMPAP@COARSE L ACETAMINOPHEN    RSVD 12/13/07 LM 500KG SUPRSCK
